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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA


U.S. EQUAL EMPLOYMENT                        *       CIVIL ACTION NO. 2:18-CV-08930
OPPORTUNITY COMMISSION                       *
                                             *
VERSUS                                       *       JUDGE WENDY B. VITTER
                                             *
IMPERIAL TRADING CO., LLC                    *       MAGISTRATE JUDGE WILKINSON

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                   AGREED MOTION TO ENTER CONSENT DECREE

       COME NOW Plaintiff Equal Employment Opportunity Commission (“EEOC”) and

Defendant Imperial Trading Co., LLC (“Imperial”) and hereby move that the Court sign and

enter the Consent Decree which is filed concurrently with this motion. In support of this motion,

the parties would show as follows:

       1.      Plaintiff EEOC and Defendant Imperial have negotiated a resolution to the main

demand in this lawsuit.

       2.      The action at bar alleges an ADA cause of action for disability discrimination.

The Defendant denied and continues to deny liability for the allegations in this suit. The

purposes of the ADA will be furthered by entry of the Consent Decree.

       3.      Imperial and Third-Party Defendant Federal Insurance Company (“Federal”) have

also reached a resolution to the issues raised in Imperial’s Third-Party Complaint against Federal

that is contingent upon the Court’s approval of the Consent Decree.

       4.      The Consent Decree, if entered by the Court, will resolve to the satisfaction of all

parties all the issues raised in this suit. EEOC and Imperial therefore request the Court to

approve the Consent Decree.
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Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

       I hereby certify that on December 23, 2019, I electronically filed the foregoing with the
Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing to
counsel for Defendant/Third Party Plaintiff Imperial Trading Company, LLC, and counsel for
Third Party Defendant Federal Insurance Company.




                                                   /s/ Timothy M. Bowne
                                                   Timothy M. Bowne




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